       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:


    1. Delores O’Brien Heffernan
        v. Arlington County Department of Human Services
        Record No. 1471-12-4
        Opinion rendered by Judge Humphreys on
        August 13, 2013

    2. Patricia Tackett
        v. Arlington County Department of Human Services
        Record No. 1519-12-4
        Opinion rendered by Judge Humphreys on
        August 13, 2013

    3. Delores O’Brien Heffernan
        v. Arlington County Department of Human Services
        Record No. 1520-12-4
        Opinion rendered by Judge Humphreys on
        August 13, 2013

    4. Vernon Ray Chappelle
        v. Commonwealth of Virginia
        Record No. 0606-12-1
        Opinion rendered by Judge Alston on
        August 20, 2013

    5. Tyrus H. Thompson and Ja’Ree C. Thompson
        v. Fairfax County Department of Family Services, Minh-Sang Nguyen, Jasmine
           Vanderplas and Standing Rock Sioux Tribe
        Record No. 2185-12-4
        Opinion rendered by Judge McCullough on
        September 10, 2013

    6. Minh-Sang Nguyen
       v. Fairfax County Department of Family Services
       Record No. 2217-12-4
       Opinion rendered by Judge McCullough on
        September 10, 2013
7. Nancy J. Martin, as Guardian ad litem for the Minor Child
    v. Fairfax County Department of Family Services, Minh-Sang Nguyen, Jasmine
       Vanderplas, Standing Rock Sioux Tribe, Tyrus H. Thompson and Ja’Ree C. Thompson
    Record No. 2232-12-4
    Opinion rendered by Judge McCullough on
    September 10, 2013
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Tariq Rashad Amin
   v. County of Henrico
   Record No. 0861-11-2
   Opinion rendered by Judge Humphreys
     on October 31, 2012
    Judgment of Court of Appeals reversed and matter remanded to this Court
     for determination of issue on merits (122035)

2. Kareem Donte Barlow
   v. Commonwealth of Virginia
   Record No. 0666-12-1
   Opinion rendered by Judge Frank
    on April 2, 2013
   Refused (130721)

3. Vickie Marrs Belew
    v. Commonwealth of Virginia
    Record No. 1168-10-2
    Opinion rendered by Judge Alston
     on May 7, 2013
   Refused (130788)

4. Fredericksburg Orthopaedic Associates
   v. Fredericksburg Machine &amp; Steel, LLC and Commonwealth Contractors GSIA
   Record No. 1714-12-2
   Opinion rendered by Chief Judge Felton
     on May 14, 2013
   Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2) and (B) (130939)
      On October 31, 2013 the Supreme Court issued an opinion in the following case, which
had been appealed from this Court:

   1. Christopher Burkeen
      v. Commonwealth of Virginia
      Record No. 2566-11-1
      Memorandum opinion rendered by Senior Judge Bumgardner on
       November 27, 2012
      Judgment of Court of Appeals affirmed
      (122178))
